         Case 3:19-cr-00031-SDD-RLB         Document 61      10/20/20 Page 1 of 12




                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA




UNITED STATES OF AMERICA                                         CRIMINAL ACTION

VERSUS                                                           19-31-SDD-RLB

BRUCE AARON BOULTON



                                         RULING

        This matter is before the Court on the Motion for Reduction in Sentence and

Compassionate Release 1 filed by Defendant, Bruce Aaron Boulton (“Boulton”). The

Government has filed an Opposition 2 to this motion. Because Boulton has presented

no evidence of extraordinary and compelling reasons for his release under the First Step

Act, this motion shall be denied.

I.      BACKGROUND

        In May 2019, Boulton was sentenced to prison for a term of 51 months after he

pled guilty to one count of mail fraud and one count of wire fraud, in violation of 18 U.S.C.

§§ 1341 and 1343. 3 Boulton reported to the BOP Facility FCI-Oakdale I in Oakdale,

Louisiana (hereinafter “Oakdale”), on February 20, 2020 to begin serving his sentence.

Just five months later, Boulton moved for a reduction in sentence and compassionate

release pursuant to 18 U.S.C. § 3582(c)(1)(A).




1 Rec. Doc. No. 47.
2 Rec. Doc. No. 56.
3 Rec. Doc. Nos. 1, 17, 18, 41, & 44.

Document Number: 62851                                                                          1
        Case 3:19-cr-00031-SDD-RLB        Document 61       10/20/20 Page 2 of 12




        Boulton first complains that, subsequent to the initial COVID-19 pandemic

outbreak, Warden R. Meyers at Oakdale posted notice in the prison of the “COVID-19

Home Confinement Criteria,” for which Boulton claims he was advised he was eligible

by prison staff. 4 Boulton presents evidence that this process was begun; 5 however, he

was never released and was advised that he met the home confinement criteria, but he

had not served enough of his sentence to qualify for home confinement.

        Boulton then formally requested release by a “Request for Administrative

Remedy,” 6 which was reviewed and ultimately denied by Acting Warden S. Merendino. 7

Boulton appealed this decision, and his appeal remains pending. 8 Having exhausted

his administrative remedies under the First Step Act, Boulton now seeks compassionate

release to home confinement from this Court.

        Boulton claims his medical conditions and age (50) place him at a higher risk for

contracting the coronavirus, combined with the fact that he is housed at the Oakdale

Facility, which he contends has “specifically had a poor response to the pandemic.”9

Boulton also claims the 18 U.S.C. § 3553(a) factors support his request for

compassionate release because he poses no threat to the community, was convicted of

non-violent crimes, and is at minimum risk of recidivism.

        The Government opposes Boulton’s motion, arguing that his only real medical

condition is hypertension, which the Court has held is not a “serious physical or medical

condition” rendering one eligible for First Step Act relief. Further, Boulton’s evidence


4 Rec. Doc. No. 47-2, p. 15.
5 Rec. Doc. No. 47-2, pp. 16-17.
6 Rec. Doc. No. 47-2, pp. 18 & 19.
7 Rec. Doc. No. 47-2, p. 20.
8 Rec. Doc. No. 47-2, p. 21.
9 Rec. Doc. No. 47-1, p. 4.

Document Number: 62851                                                                      2
       Case 3:19-cr-00031-SDD-RLB        Document 61     10/20/20 Page 3 of 12




actually demonstrates that Oakdale is successfully treating his hypertension. Finally,

the Government maintains that the 18 U.S.C. § 3553(a) factors do not favor

compassionate release because Boulton’s crime, along with his history and

characteristics set forth in his Pre-Sentence Investigation Report (“PSR”), do not

establish that he does not pose a threat to the community. Moreover, Boulton has only

served around 22% of his 51-month term of imprisonment, which would fail to reflect the

seriousness of his crime.

II.   LAW AND ANALYSIS

      A. Exhaustion of Remedies

      The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended by

the First Step Act on December 21, 2018, provides in pertinent part:

      (c) Modification of an Imposed Term of Imprisonment.—The court may not
      modify a term of imprisonment once it has been imposed except that—

      (1) in any case—

      (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
      motion of the defendant after the defendant has fully exhausted all
      administrative rights to appeal a failure of the Bureau of Prisons to
      bring a motion on the defendant’s behalf or the lapse of 30 days from
      the receipt of such a request by the warden of the defendant’s facility,
      whichever is earlier, may reduce the term of imprisonment (and may
      impose a term of probation or supervised release with or without conditions
      that does not exceed the unserved portion of the original term of
      imprisonment), after considering the factors set forth in section 3553(a) to
      the extent that they are applicable, if it finds that— (i) extraordinary and
      compelling reasons warrant such a reduction...

      and that such a reduction is consistent with applicable policy statements
      issued by the Sentencing Commission....

      It is undisputed that Boulton has exhausted administrative remedies under the First

Step Act.

Document Number: 62851                                                                    3
       Case 3:19-cr-00031-SDD-RLB           Document 61      10/20/20 Page 4 of 12




       B. Extraordinary and Compelling Reasons

       28 U.S.C. § 994(t) provides: “The Commission, in promulgating general policy

statements regarding the sentencing modification provisions in section 3582(c)(1)(A) of

title 18, shall describe what should be considered extraordinary and compelling reasons

for sentence reduction, including the criteria to be applied and a list of specific examples.

       The Sentencing Guidelines policy statement appears at § 1B1.13 and provides

that the Court may grant release if “extraordinary and compelling circumstances” exist,

“after considering the factors set forth in 18 U.S.C. § 3553(a), to the extent that they are

applicable,” and the Court determines that “the defendant is not a danger to the safety

of any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

Additionally, in application note 1 to the policy statement, the Commission identifies the

“extraordinary and compelling reasons” that may justify compassionate release. The

note provides as follows:

       1. Extraordinary and Compelling Reasons.—Provided the defendant
          meets the requirements of subdivision (2) [regarding absence of danger
          to the community], extraordinary and compelling reasons exist under
          any of the circumstances set forth below:

       (A) Medical Condition of the Defendant.—

          (i) The defendant is suffering from a terminal illness (i.e., a serious
          and advanced illness with an end of life trajectory). A specific
          prognosis of life expectancy (i.e., a probability of death within a
          specific time period) is not required. Examples include metastatic
          solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage
          organ disease, and advanced dementia.

          (ii) The defendant is—

          (I) suffering from a serious physical or medical condition,
          (II) suffering from a serious functional or cognitive impairment, or
          (III) experiencing deteriorating physical or mental health because of
          the aging process, that substantially diminishes the ability of the
Document Number: 62851                                                                          4
           Case 3:19-cr-00031-SDD-RLB             Document 61       10/20/20 Page 5 of 12




              defendant to provide self-care within the environment of a
              correctional facility and from which he or she is not expected to
              recover.

          (B) Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
              experiencing a serious deterioration in physical or mental health
              because of the aging process; and (iii) has served at least 10 years or
              75 percent of his or her term of imprisonment, whichever is less.

          (C) Family Circumstances.—

              (i) The death or incapacitation of the caregiver of the defendant’s
              minor child or minor children.
              (ii) The incapacitation of the defendant’s spouse or registered partner
              when the defendant would be the only available caregiver for the
              spouse or registered partner.

          (D) Other Reasons.—As determined by the Director of the Bureau of
              Prisons, there exists in the defendant’s case an extraordinary and
              compelling reason other than, or in combination with, the reasons
              described in subdivisions (A) through (C).

Generally, the defendant has the burden to show circumstances meeting the test for

compassionate release. 10

                  1. Boulton’s Claims

          Boulton claims he has a history of chronic medical conditions for which he takes

the following medications: (1) Metoprolol Tartrate 50 mg – beta blocker that affects the

heart and circulation; (2) Lisinopril 20 mg – ACE inhibitor to relax blood vessels ease

circulation; (3) HydroChlorothiazide 12.5 mg - diuretic for kidney treatment; and (4)

Sertraline 50 mg – anti depressant. Boulton also presents evidence that he has a lump

on his testicles for which he has not been treated since his incarceration.

          Thus, Boulton argues he has demonstrated “extraordinary and compelling

reasons” as contemplated by the First Step Act warranting his release for the following


10   United States v. Heromin, 2019 WL 2411311, at *2 (M.D. Fla. June 7, 2019)(emphasis added).
Document Number: 62851                                                                            5
        Case 3:19-cr-00031-SDD-RLB               Document 61        10/20/20 Page 6 of 12




reasons: he “is 50 years old which puts him at higher risk. He has heart, kidney and

high blood pressure issues that also place him at higher risk. These are all conditions

recognized as elevated risk factors for severe illness due to COVID-19. These are

factors that make Bruce Boulton highly vulnerable to severe illness from COVID-19.

Inmates, such as Bruce, in detention facilities and prisons are particularly vulnerable to

infection.”

                2. Government’s Opposition

        The Government counters Boulton’s claims, arguing that his medications are all

primarily treating hypertension, and this Court, in United States v. Clark and United

States v. Alexander, has repeatedly held that hypertension does not amount to a serious

physical or medical condition rendering one eligible for compassionate release. 11

Further, the Government notes that the most recent CDC guidance reinforces the

Court’s holding in this regard, explaining that hypertension falls under the category of

conditions that “might” present an increased risk, rather than conditions that present an

“increased risk of severe illness.” 12 The Government further argues that, because

release is inappropriate based on a hypertension diagnosis, whether Oakdale can

control that condition is irrelevant; nevertheless, Boulton’s medical records demonstrate

that Oakdale has made substantial progress towards controlling his hypertension.

        The Government maintains that, in failing to identify a serious medical condition,




11 United States v. Clark, 451 F.Supp. 3d 651, 656 n. 17 (M.D. La. 2020); United States v. Alexander, No.
CR 14-126- JWD-EWD, 2020 WL 2468773 at *7 (M.D. La. 2020) (deGravelles, J.) (same); U.S.S.G §
1B1.13, p.s., comment. (n.1(A)(ii)).
12 CDC, People with Certain Medical Conditions, https://www.cdc.gov/coronavirus/2019-ncov/needextra-

precautions/people-with-medical-conditions.html (Aug. 14, 2020) (emphasis deleted). CDC, Scientific
Evidence for Conditions that Increase Risk of Severe Illness, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra- precautions/evidence-table.html (July 28, 2020).
Document Number: 62851                                                                                 6
        Case 3:19-cr-00031-SDD-RLB             Document 61       10/20/20 Page 7 of 12




the issue of the risk presented at the Oakdale facility is irrelevant.              However, the

Government demonstrates the efforts taken at Oakdale, which did have a large outbreak

at the beginning of the pandemic, to respond and control the spread at its facility. The

Government points out that Boulton has not provided any evidence of Oakdale’s current

response to the pandemic. Presently, at Oakdale I where Boulton is housed, there is

only one inmate and eleven staff who have confirmed, active cases of COVID-19. 13

Thus, the Government contends Boulton’s references to Oakdale’s circumstances in

March, April, and May are not particularly relevant at this time.

       In addition, the Government argues that, had Boulton made the showing of a

serious medical condition, the question becomes whether that medical condition

“substantially diminishes the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she is not expected to

recover.” 14 This determination addresses whether a correctional facility can safely care

for the inmate.     In other words, the question is whether Oakdale has responded

appropriately to Boulton’s hypertension in light of COVID-19. The Government presents

evidence showing that “Oakdale is substantially controlling his hypertension.” 15

       Boulton claims his age, hypertension, heart, kidney, and testicular issues qualify

as “serious medical conditions” under the First Step Act. The Government attached

Boulton’s recent medical records, which it contends demonstrates that Boulton has failed

to carry his burden for a number of reasons.

       First, as discussed above, the Government maintains that hypertension is not a



13 BOP, COVID-19 Coronavirus, https://www.bop.gov/coronavirus/ (last accessed Aug. 19, 2020).
14 U.S.S.G § 1B1.13, p.s., comment. (n.1(A)(ii)).
15 Rec. Doc. No. 56, p. 8.

Document Number: 62851                                                                             7
         Case 3:19-cr-00031-SDD-RLB                Document 61       10/20/20 Page 8 of 12




serious medical condition, especially where controlled, entitling one to compassionate

release. The Government cites to Boulton’s medical records, which reveal that:

        BOP has taken his blood pressure nine times. Exhibit C at 58-59. Three of
        those measurements were taken in early to mid-February 2020 and those
        are his three highest readings: 151/92, 159/97, and 156/90. Exhibit C at 59.
        His later readings (from February to June 2020) are substantially lower:
        139/88, 117/76, 141/89, 138/83, 127/78, and 142/79. Exhibit C at 58-59.
        Boulton’s blood pressure appears to have lowered to more manageable
        levels because of medication provided by BOP. On February 12, 2020, BOP
        medical staff renewed prescriptions for two hypertension medications
        (Lisinopril and Metoprolol) and added a new hypertension medication:
        hydrochlorothiazide. Exhibit C at 27. This mixture seems to have had a
        beneficial effect on Boulton’s blood pressure. His records also indicate that
        medical staff should be notified if his blood pressure persists over 140/90
        and that does not seem to be the case at present. Exhibit C at 28, 56. 16

        Second, the Government notes that Boulton claims he takes, in addition to

Lisinopril for hypertension, Metoprolol for an erratic heart rate and hydrochlorothiazide

for kidney issues. 17       However, the Government points out that all three of these

medications have the same notation: “Indication: Essential (primary) hypertension.” 18

Indeed, Boulton’s evidence regarding these medications is a single page of notebook

paper with copies of his four prescriptions, including the Sertraline taken for his

depression. However, the page produced has handwritten notes to the side of each

prescription of “heart rate,” “hypertension,” and “kidney issues fluid.” 19 There is no

identification who wrote these notes or if this document was generated by Oakdale

medical staff rather than Boulton or his counsel. The official medical records from

Oakdale submitted by the Government demonstrate that Boulton was treated primarily

for hypertension and depression, and the medications prescribed above were all noted


16 Id. at p. 15 (citing Rec. Doc. No. 60 at pp. 27-28; 56; 58-59).
17 See Rec. Doc. No. 47-2 at p. 26 & Rec. Doc. No. 48-1 at p. 5.
18 Rec. Doc. No. 60, p. 27.
19 Rec. Doc. No. 47-2, p. 26.

Document Number: 62851                                                                       8
        Case 3:19-cr-00031-SDD-RLB            Document 61       10/20/20 Page 9 of 12




in Boulton’s medical records to be for the treatment of hypertension and depression.

       Third, the Government maintains Boulton’s age does not necessarily place him

at a higher risk of contracting COVID-19. While the Government acknowledges that the

CDC recognizes that “older people are more susceptible to negative health outcomes,”20

the Government also notes that “the CDC has not declared that persons who are 50

years old (like Boulton) have an increased risk of severe illness. Rather, the CDC

explained that risk simply increases with age:

       As you get older, your risk for severe illness from COVID-19 increases. For
       example, people in their 50s are at higher risk for severe illness than people
       in their 40s. Similarly, people in their 60s or 70s are, in general, at higher
       risk for severe illness than people in their 50s. The greatest risk for severe
       illness from COVID-19 is among those aged 85 or older.

CDC, Coronavirus Disease: Older Adults, https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/older-adults.html (Aug. 16, 2020).” 21

       Finally, the Government argues Boulton has presented no evidence that the lump

on his testicles, confirmed by his medical records, increases his risk for contracting

COVID-19.

               3. Analysis

       The Court finds that Boulton has failed to present evidence of extraordinary and

compelling reasons to justify his compassionate release. He offers scant evidence

supporting the multiple medical conditions he claims render his health needs an

extraordinary or compelling reason for his immediate release; rather, he primarily

provides evidence that he is 50 and takes medication for hypertension, which appears



20   Rec. Doc. No. 56, pp. 15-16 (citing CDC, Coronavirus Disease: Older Adults,
https://www.cdc.gov/coronavirus/2019-ncov/need-extraprecautions/older-adults.html (Aug. 16, 2020)).
21 Rec. Doc. No. 56, p. 16.

Document Number: 62851                                                                           9
        Case 3:19-cr-00031-SDD-RLB              Document 61        10/20/20 Page 10 of 12




to be controlled by the BOP. Notably, this Court rejected similar “fear of contracting”

arguments in United States v. Clark22 and United States v. Alexander. 23 Moreover, “[t]he

Court cannot release every prisoner at risk of contracting COVID-19 because the Court

would then be obligated to release every prisoner.” 24

        Accepting the medical evidence that Boulton suffers from hypertension, courts

have held that this medical condition alone does not constitute a greater-than-average

risk. The Court acknowledges that, if an inmate has a chronic medical condition that

has been identified by the CDC as elevating the inmate’s risk of becoming seriously ill

from COVID-19, that condition may satisfy the standard of “extraordinary and compelling

reasons” where such a condition is found to “substantially diminish[] the ability of the

defendant to provide self-care within the environment of a correctional facility,” even if

that condition would not have constituted an “extraordinary and compelling reason”

absent the risk of COVID-19. 25            However, general hypertension, as opposed to

pulmonary hypertension, for example, is not one of the conditions identified by the CDC

as increasing a person’s risk for developing serious illness from COVID-19. 26 Further,

Boulton has not alleged that his hypertension has caused his medical condition to

deteriorate, that his condition has worsened in prison, or that this condition is not

adequately controlled by medication. 27


22 2020 WL 1557397, *4-*5 (citing United States v. Gileno, 2020 WL 1307108 (D. Conn. Mar. 19, 2020);
United States v. Eberhart, 2020 WL 1450745 (N.D. Cal. Mar. 25, 2020)).
23 2020 WL 2468773 (M.D. La. May 13, 2020).
24 United States v. Wright, 2020 WL 1976828, *5 (W.D. La. Apr. 24, 2020).
25 See U.S.S.G. § 1B1.13, comment. (n.1(A)(ii)(I)).
26   See Centers for Disease Control, “At Risk for Severe Illness,” available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html (last visited
May 4, 2020) (identifying “pulmonary hypertension” as risk factor, but not ordinary hypertension).
27 See e.g., United States v. Koons, 2020 WL 1940570 (W.D. La. Apr. 21, 2020); United States v. Mazur,

2020 WL 2113613 (E.D. La. May 4, 2020)(“Additionally, finding that Mazur’s medical conditions combined
with the threat of COVID-19 is an extraordinary and compelling reason would potentially have far-reaching
Document Number: 62851                                                                                10
        Case 3:19-cr-00031-SDD-RLB             Document 61        10/20/20 Page 11 of 12




        The Court also acknowledges the effects of COVID-19 pandemic and the

heightened risk at the Oakdale facilities. However, the Government presented evidence

of significant efforts being undertaken at Oakdale to respond to the pandemic and to

identify inmates eligible for release pursuant to Attorney General William Barr’s

memorandum instructing the BOP to maximize transfer to home confinement “all

appropriate inmates held at FCI Oakdale, FCI Danbury, FCI Elkton, and similarly

situated BOP facilities where COVID-19 is materially affecting operations.”28                     The

Government also maintains that, while incarcerated, Boulton has access to medical

care, screening, and sanitation supplies, and there is no record evidence that his living

conditions, if released, would be comparably safer. The BOP’s denial of Boulton’s

administrative request for home confinement further supports the Court’s findings herein:

 Program Statement 5050.50, Compassionate Release/Reduction in
 Sentence: Procedures for Implementation of 18 U.S.C §§ 3582 and
 4205{g), Section 3, page 4, Requests Based on Medical Circumstances,
 outlines the following criteria for consideration            for a
 Compassionate Release/RIS: "(a) Terminal Medical Condition. RIS
 consideration may be given to inmates who have been diagnosed with
 a terminal, incurable disease and whose life expectancy is
 eighteen (18) months or less, and/or has a disease or condition
 with an end-of-life trajectory under 18 USC §3582{d)(1). (b)
 Debilitated Medical Condition. RIS consideration may also be
 given to inmates who have an incurable, progressive illness or
 who have suffered a debilitating injury from which they will not
 recover. The BOP should consider an RIS if the inJnate is
 completely disabled, meaning the inmate cannot carry on any self-
 care and is totally confined to a bed or chair; or capable of
 only limited self-care and is confined to a bed or chair more
 than 50% of waking hours." According to the Clinical Director,
 you do not meet the criteria for Compassionate Release because
 you have not been diagnosed with a terminal, incurable disease
 and his life expectancy is not eighteen months or less. You do

implications, as to any defendant currently incarcerated at Mazur’s facility with a serious, albeit non-
terminal, compromised immune system.).
28 See Memorandum from Attorney General William Barr to Director of Bureau of Prisons, Increasing Use

of Home Confinement at Institutions Most Affected by COVID-19 (April 3, 2020), available at
https://www.justice.gov/file/1266661/download (last visited 4/20/2020).
Document Number: 62851                                                                               11
          Case 3:19-cr-00031-SDD-RLB      Document 61     10/20/20 Page 12 of 12



 not suffer from a chronic or serious medical condition related
 to the aging process and the Bureau of Prisons (BOP) can provide
 conventional treatment to improve your condition. 29

Boulton’s substantial medical records demonstrate that the BOP has, indeed, been

providing conventional treatment to improve Boulton’s conditions. Accordingly, he

has failed to demonstrate extraordinary and compelling circumstances as

contemplated by the First Step Act.

          C. 18 U.S.C. § 3553(a) Factors/Danger to the Community

          Because Boulton has failed to present evidence of extraordinary and compelling

reasons warranting his immediate release, the Court need not reach consideration of

these factors.

          Accordingly, Boulton’s Motion for Reduction in Sentence and Compassionate

Release 30 is DENIED.

          IT IS SO ORDERED.

          Signed in Baton Rouge, Louisiana on October 20, 2020.


                                       S
                                      CHIEF JUDGE SHELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA




29   Rec. Doc. No. 47-2, p. 20.
30   Rec. Doc. No. 47.
Document Number: 62851                                                                 12
